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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


UNITED STATES OF AMERICA,

            Plaintiff,
                                                                   No. 02 CR 1050-4
                  v.                                             Judge James B. Zagel

FRANK CALABRESE, SR.,

             Defendant,

and

DIANE CIMINO CALABRESE,

       Third Party Citation Respondent.



                          MEMORANDUM OPINION AND ORDER

       The United States of America moves for summary judgment and a turnover order against

Diane Cimino Calabrese (“Diane” or “Claimant”) and Frank Calabrese, Sr. (“Frank”) for

$350,000 in proceeds from the sale of 2820 N. 75th Court in Elmwood Park, Illinois (the

“Property”), to partially satisfy a judgment order against Frank. For the reasons stated below, the

Motion for Summary Judgment is denied.

       I.       BACKGROUND

       In January 2009, Frank was sentenced to a term of life imprisonment for his involvement

in illegal activities of the Chicago Outfit. He was later ordered to pay restitution to family

members of his victims in a judgment amount of $4,422,572.89. To enforce this judgment, the

government served a Third-Party Citation to Discover Assets on Diane in March 2010, and

examined her in May 2010 to determine whether Frank held any right or interest to real and
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personal property held in her name. Diane was married to Frank from 1986 to 1993, and again

from 1995 until at least 2010. Both parties agree that by 2002 Diane held sole title to the

Property as the final record transferee in a line of Calabrese family members dating back to

1977. On May 11, 2006 Diane sold the Property for $349,925.66. It is undisputed that Frank was

never on the title to the Property and never was a transferor of record.

        The government argues that Frank was always the true owner of the Property and that he

directed a series of transfers to family members as his “nominees” with the intent to avoid

judgment claims against him and to defraud the United States. Alternatively, the government

argues that the transfer of the Property to Diane was constructive fraud in that Frank directed the

Property to be transferred from Sophie Calabrese, Frank’s mother, as his nominee, to Diane for

no financial consideration, thereby leaving Frank insolvent and without the value of this asset to

satisfy his debts.

        Claimant Diane Calabrese asserts that the Property was never owned, possessed, or

controlled by Frank. She further claims that the 2002 transfer of the Property to her from Sophie

did not constitute fraud because Sophie was a record owner since 1977 and not Frank’s nominee.

Diane maintains that Sophie’s transfer was done with Sophie’s input and approval for legitimate

purposes of protecting the house from Sophie’s children and estate planning. Claimant alleges

the government’s case is built on unreliable witness statements and unsupported inferences and

that the United States has not demonstrated an absence of a genuine issue of material fact and

thus is not entitled to judgment as a matter of law.

        II.     STANDARD OF REVIEW

        Summary judgment is appropriate if the moving party can show that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.



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Fed.R.Civ.P. 56(a); Vision Church v. Vill. of Long Grove, 468 F.3d 975, 988 (7th Cir. 2006).

Once the moving party has set forth the basis for summary judgment, the non-moving party must

then meet the burden of showing there is a genuine issue for trial. Fed.R.Civ.P. 56(e). They

must offer specific facts and not merely deny the pleadings or proffer unsupported allegations.

Celotex Corp. v. Catrett, 477 U.S. 317, 323–24, 106 S.Ct. 2548, 91 L.Ed.2d 265 (1986).

In considering if factual issues exist, the court construes all facts and reasonable inferences in the

light most favorable to the non-moving party. Sornberger v. City of Knoxville, Ill., 434 F.3d

1006, 1012 (7th Cir. 2006). Such facts and inferences will only be accepted, however, if they are

backed up by relevant, admissible evidence. Bombard v. Fort Wayne Newspapers, Inc., 92 F.3d

560, 562 (7th Cir. 1996). The court’s review probes “whether the evidence presents a sufficient

disagreement to require submission to the jury, or whether it is so one-sided that one party must

prevail as a matter of law.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 251–52, 106 S.Ct.

2505, 91 L.Ed.2d 202 (1986).1

         III.     DISCUSSION

         The parties are in agreement that the 2009 criminal restitution judgment against Frank

Calabrese created a lien against all of his assets. The government, as judgment creditor, is

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  I reject the government’s argument that the third-party claimant carries the burden of proof in challenging a writ of
execution issued pursuant to the FDCPA. The argument is based on a comparison to questions of standing that often
arise in civil forfeiture proceedings. For one thing, the Claimant’s “burden” to establish standing in civil forfeiture
proceedings is not really a burden of proof at all – it is a pleading requirement. United States of America v.
$196,969.00, No. 12-3414, slip op. at 4 (7th Cir. June 11, 2013). More to the point, the analogy is inapt in the
context of a writ of execution issued against a third party to collect on a judgment debtor’s debt. If the asset in
question has been discovered due to a third-party citation and examination, presumably the third-party holds at least
a possessory or title interest in the property and thus standing would not be an issue. The better parallel to draw with
civil forfeiture is that the government very clearly carries the burden of proof to demonstrate that property is subject
to forfeiture. 18 U.S.C. § 983(c). Although the FDCPA does not explicitly place the burden of proof on the
government, it would be utterly at odds with basic principles of due process to allow the government to collect on a
debt by seizing property from non-debtors, and then put the onus on the non-debtor to prove a negative (that the
debtor has no interest in the property). Further, the relevant Illinois collection provision very clearly places the
burden of proof on the judgment creditor. See Lawyers Title Ins. Corp. v. Dearborn Title Corp., 939 F.Supp. 611
(N.D. Ill. 1996), affirmed in part, vacated in part, 118 F.3d 1157, on remand 22 F.Supp.2d 820; Mid-American
Elevator Co., Inc. v. Norcon, Inc., 679 N.E.2d 387 (App. 1 Dist. 1996). The burden in this case lies with the
government.

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entitled to enforce collection of this debt under both federal law and Illinois state law as if the

debt were a civil judgment or a tax lien. 18 U.S.C. §3613(a)(c). In a discovery examination of

the judgment debtor’s assets or income, Illinois law also provides for a service of citation to

third-party holders of assets or income of the judgment debtor. 735 ILCS 5/2-1402(a). If a third

party is found to be holding non-exempt assets or income of the judgment debtor, they can be

compelled to deliver them to the judgment creditor to be applied in satisfaction of the debt. 735

ILCS 5/2-1402(c)(3).

       To collect the sale proceeds of the Property at issue in this case, the government must

show that Frank, and not Diane, held interest in the Property at least at the time of sale. The

government proceeds on the theory that the 2002 transfer from Sophie that resulted in Diane

obtaining sole title was one in a long line of fraudulent conveyances. The government suggests

that the final transfer from Sophie to Diane was either done with the specific intent by Frank to

hinder or defraud the United States or, at the very least, Frank directed the transfer from Sophie

to Diane for no consideration when he knew or should have known it would render him insolvent

as a debtor to the United States. While both parties more or less agree on the legal criteria to

classify a conveyance by a debtor as fraudulent as to a creditor, each party comes to different

conclusions when applying the criteria to their own set of facts and inferences. However, we

need not parse the specific facts of each fraudulent conveyance criteria at the summary judgment

phase. Since Frank the debtor was never a transferor of record, the government must first

establish that no reasonable jury could conclude that Sophie was not a nominee of Frank.

       In terms of direct evidence, the government produces statements from Nick Calabrese

(Frank’s brother) and Kurt Calabrese (Frank’s son) that Frank used Sophie (and others) as a

nominee. They also proffer an admission by Frank in a 1997 plea agreement that he had



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previously titled bank accounts and another piece of property in others’ names to shield his

ownership. Diane maintains, and the government admits, that Sophie was a titled interest holder

in the Property as far back as 1977, predating any indictments of Frank. On the other hand,

Diane characterizes Nick and Kurt’s statements as cooperation by convicted felons for

preferential treatment by the government. She has no real explanation for the 1997 plea

admission.

         In terms of indirect evidence, the parties are again in agreement that property held by a

third party may be levied upon if it is determined that the third party merely holds title as a

nominee of the true beneficial owner. Oxford Capital Corp. v. United States, 211 F.3d 280, 284

(5th Cir. 2000). To determine the connection between debtor and property, courts have

employed many factors for consideration. Holman v. United States, 505 F.3d 1060, 1065 (10th

Cir. 2007) (“The ultimate inquiry is whether the taxpayer has engaged in a legal fiction by

placing legal title to property in the hands of a third party while actually retaining some or all of

the benefits of true ownership.”); Spotts v. United States, 429 F.3d 248, 253 (6th Cir. 2005);

Oxford Capital Corp., 211 F.3d at 284. No one factor is dispositive in deciding a nominee

inquiry; rather the facts and circumstances of each case should be applied to the factors as a

whole.

             1. Adequacy of consideration - Looking at the decisive 2002 transfer between

                Sophie and Diane, Claimant admits in her 56.1(b) response that the transfer was

                made for $10. Diane offers legitimate reasons for Sophie’s transfer, including

                estate planning, maintaining eligibility for Medicaid, and because Sophie wanted

                to reward Diane for taking care of her. The government points to case law

                indicating that intangible benefits do not constitute adequate consideration from



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          the standpoint of creditors. However, the government’s cases involve transfers

          made directly by the debtor; consideration given for transfers made between

          alleged nominees is not necessarily relevant without first establishing that the

          property was controlled by the debtor.

       2. Whether the Property was placed in the hands of the nominee in anticipation of a

          lawsuit or other liability – The government relies heavily on Frank’s 1997 plea

          admission that his modus operandi previously included titling bank accounts and

          one other piece of property in the names of others to shield his ownership. The

          government further relies on Nick and Kurt’s statements to bolster the argument

          that Frank was always in fear of indictment or judgment based on his ongoing

          illegal activities and routinely used nominees. Diane points out that it is

          undisputed that Sophie held a beneficial interest as far back as 1977. Diane offers

          evidence that James (Frank’s father) purchased the Property in 1977 through sale

          proceeds of another house and maintains Sophie would naturally have had an

          interest as James’s wife. Given the purchase date of the Property, and the fact

          that 2820 N. 75th Court was not one of the properties that Frank identified in his

          1997 plea admission, I think the reliability of Nick and Kurt’s statements should

          be evaluated by a fact finder.

       3. Whether there was a close relationship between the taxpayer and the nominee –

          Diane admits that all the transfers from 1977 to 2006 involved Calabrese family

          members, but argues that intra-family transfers are not inherently suspicious when

          the judgment debtor was never a transferor. The government has not put forth

          conclusive evidence that Sopie’s original 1977 interest in the Property was as



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          Frank’s nominee, and thus the relevance of subsequent intra-family transfers is

          questionable at this point.

       4. Whether the conveyances were recorded – The government offers that some of

          the transfers were not recorded or recorded well after the transactions, specifically

          the assignment of beneficial interest from James and Nick to Kurt and Sophie

          allegedly executed in 1990; and the 1996 quit claim deed from Kurt and Sophie to

          Sophie and Dolores not recorded until 2006. Diane disputes the date of the 1990

          beneficial interest transfer and claims the government has shown no legal

          requirement to record beneficial interest transfers. Further, she maintains that

          other than the 1996 quit claim, all other transfers were recorded

          contemporaneously with the transactions. The record bears this out and it very

          clearly cuts in favor of Diane.

       5. Control, possession and continued enjoyment of the Property – The government

          uses both Nick and Kurt’s statements to establish that Frank exercised control

          over the Property by having them collect rents from tenants and deposit the

          money into bank accounts titled in others’ names but controlled by Frank. The

          government also tries to demonstrate possession by showing Frank also stored

          cars on the Property at different times. Diane’s evidence mainly consists of her

          statement that she collected rents at times and deposited the money into Sophie’s

          account. She further attacks the statements of Kurt and Nick as contradictory,

          unreliable, and incomplete as to the time periods of rental collection and Frank’s

          alleged control. Alternatively, Diane points to the fact that the government does

          not dispute Diane’s contention that Frank assisted his mother in some of her



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               financial affairs after James’ death. She asserts that a reasonable explanation for

               Frank’s alleged control of rental receipts was merely a son helping his mother. In

               addition, Diane does not admit or deny that Frank stored cars at the Property, but

               disputes that this fact would be dispositive of possession since Frank never lived

               at the Property and may have just received permission to store cars from other

               family members who owned the Property. She also offers evidence that during a

               period of Nick’s interest in the Property, he allowed his ex-wife to live there,

               demonstrating his control over the Property. Again, the government’s evidence

               hinges on the credibility of Nick and Kurt’s statement, which is best left to a fact

               finder to determine.

       The government is correct in stating that Diane cannot simply deny the pleadings or offer

unsupported inferences to defeat summary judgment. And if the only questions of fact revolved

around the believability of Nick and Kurt’s statements, the balance for summary judgment would

probably tip toward the government. Dugan v. Smerwick Sewerage Co., 142 F.3d 398, 406 (7th

Cir. 1998) (“[T]he prospect of challenging a witness' credibility is not alone enough to avoid

summary judgment.”). But Diane also offers direct evidence in the way of title records attesting

to Sophie’s interest in the Property before any indictments; James’ recorded purchase of 2820 N.

75th Court after the sale of a previous residence undisputed as his own; and real estate taxes and

tax deduction records for James during his ownership period. This evidence could give rise to

reasonable alternative inferences in the minds of jurors asked to weigh the government’s

nominee theory.

       IV.     CONCLUSION

       For the foregoing reasons, the government’s Motion for Summary Judgment is denied.



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                                           ENTER:




                                           James B. Zagel
                                           United States District Judge

DATE: August 27, 2013




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